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               U.S. District Court for the Northern District Of Illinois
                             Attorney Appearance Form


Case Title: Kaiher Technology Co., Limited               Case Number: 1:25-cv-05846

v. SCAN2CAD INC.
An appearance is hereby filed by the undersigned as attorney for:
Plaintiff Kaiher Technology Co., Limited

Attorney name (type or print):        Hongchang DENG

Firm:        SHM LAW FIRM

Street address:         25F, China Resources Tower, 2666 Keyuan South Rd, Nanshan

City/State/Zip:     Shenzhen 518052, CHINA

Bar ID Number: 354529                                  Telephone Number:           (267)888-8281
(See item 3 in instructions)

Email Address: deng.hongchang@shm.law

Are you acting as lead counsel in this case?                                     Yes           No

Are you a member of the court’s general bar?                                     Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

Are you appearing pro hac vice?                                                  Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on May 27, 2025

Attorney signature:        S/ Hongchang DENG
                           (Use electronic signature if the appearance form is filed electronically.)
